      Case 4:20-cv-01263 Document 29 Filed on 12/28/21 in TXSD Page 1 of 1
                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                                                                                       December 28, 2021
COURTROOM MINUTES- ORDER                                             Nathan Ochsner, Clerk

JUDGE SAM SHELDON PRESIDING
DATE: December 28, 2021
COURT REPORTER:
MORNING: (1hour)         AFTERNOON:
******************************************************************************
                          CIVIL NO 4:20cv1263


Nicolas S. Nicolas,                                 Brandy Michelle Alexander

              Plaintiff
vs.


PHH Mortgage Corporation, et al                     Brian A. Paino
                                                    Gregory Stewart DeVries

               Defendants




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MINUTE ENTRY ORDER:

The parties have settled the case and the material terms were placed on the record.

       SIGNED in Houston, Texas, this 28th day of December, 2021.




                                                 _____________________________________
                                                              Sam Sheldon
                                                      United States Magistrate Judge
